978 F.2d 1255
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Garnell Steven HILL, Plaintiff-Appellant,v.R. LOGAN, Chief of Security;  K. Green, Assistant Warden;K. Taylor, Warden, Defendants-Appellees.
    No. 92-6924.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  October 26, 1992Decided:  November 13, 1992
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Walter E. Black, Jr., Chief District Judge.  (CA-91-2753-B)
      Garnell Steven Hill, Appellant Pro Se.
      John Joseph Curran, Jr., Attorney General, Timothy James Paulus, Assistant Attorney General, Baltimore, Maryland, for Appellees.
      D.Md.
      Affirmed.
      Before ERVIN, Chief Judge, and RUSSELL and WIDENER, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Garnell Steven Hill appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Hill v. Logan, No. CA-91-2753-B (D. Md. Aug. 25, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    